Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 1 of 57

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

BUNKER HILL MALL, LLC
Plaintiff,
V. C.A. No. 1:19-cv-11229-RWZ

UNITED STATES POSTAL SERVICE,

Defendant.

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STATE COURT RECORD

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 2 of 57

ALL COMMUNICATIONS SHOULD BE ADDRESSED TO THE CLERK

Commonwealth of Massachusetts

SUPERIOR. COURT DEPARTMENT OF THE TRIAL COURT
FOR CIVIL BUSINESS

SUFFOLK COUNTY COURTHOUSE, 12TH FLOOR
THREE PEMBERTON SQUARE
BOSTON, MASSACHUSETTS 02108

MICHAEL JOSEPH DONOVAN Clerk’s Office
Clerk/Magistrate SUFFOLK COUNTY

 

BOSTON, May 15, 2019

Robert M. Farrell, Clerk

United States District

Court for District of Massachusetts
United States Courthouse

1 Courthouse Way, Suite 2300
Boston, MA. 02210

Re : Wolff, Charles Jay vs. United States Department of Veterans Affairs

Civil Action No. 1784CV01506
US Dist # 19-cy-10773

Dear Clerk Farrell:
Enclosed please find certified copies of the Petition for Removal, docket sheet and pleadings.

The following original pleading are missing from our case file:

P#3: Civil action cover sheet filed.($3,500,000.00)

P#10 : Plaintiff Charles Jay Wolff's Motion for the status of the above case

P#11: Plaintiff Charles Jay Wolff's Motion to contact the Warden Zinn 1-603-271-1801 that all
my property is with R N manager Robert McGrasis is evidence and will

P#13: Plaintiff Charles Jay Wolff's Motion to Advise the Court regarding proof of service. (w/o
opposition)

P#16: Plaintiff Charles Jay Wolff's Motion for Reconsideration

P#18: Plaintiff Charles Jay Wolff's Motion for Service

P#19: Plaintiff Charles J: ay Wolff's Motion for Requesting the date of my motion and certified
mail return receipt green card was received at the Honorable Suffolk County Superior Court

P#20: ORDER: Order Enforcing Earlier Order of October 16, 2017, and Setting Final Deadline
for Service of Process

P#28 : Plaintiff Charles Jay Wolff's Motion for a Hearing

Page 1

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 3 of 57

ALL COMMUNICATIONS SHOULD BE ADDRESSED TO THE CLERK

Commonwealth of Massachusetts

SUPERIOR COURT DEPARTMENT OF THE TRIAL COURT
FOR CIVIL BUSINESS

SUFFOLK COUNTY COURTHOUSE, 12TH FLOOR
THREE PEMBERTON SQUARE
BOSTON, MASSACHUSETTS 02108

 

MICHAEL JOSEPH DONOVAN Clerk s Office
Clerk/Magistrate SUFFOLK COUNTY
BOSTON, , 200

P# 30: General correspondence regarding "Motion" (see P# 30)
‘P# 33: Plaintiff Charles J ay Wolff's Motion for Default
P# 34: Plaintiff Charles Jay Wolff's Motion to Advise the Honorable Court

P# 36: Entered as to: Defendant United States Department of Veterans Affairs: Defaulted by
55(a) request;

P# 37: Plaintiff Charles Jay Wolff's Motion for demand for Judgment

P# 38: Plaintiff Charles Jay Wolff's Motion for Oral Filing on All the Persons Who Used my US
Department of Veterans Affairs Name and ID Number Prior to my Conviction without Evidence -

P# 39: Plaintiff Charles Jay Wolff's Motion for Payment of $1,000,000.00 for non payment of
my Education Benefits for 1970, 1971, 1972, 1973, and 1974.

P# 40: Plaintiff Charles Jay Wolff's Motion for Court Ordered payment of $3,500,000.00 to the
Plaintiff

If you have any question please do not hesitate to call at (617) 788-7612.

Very Truly Yours,

2) e
Se: L ant
Bei Liang
Case Specialist II

Page 2

 
 

CRTR2700-0R BRC eee ee Ne PES MIEH SLOP Page 4 of 57

Docket Report

  

1784CV01506 Wolff, Charles Jay vs. United States Department of Veterans Affairs

 

CASE TYPE: Civil Actions with Incarcerated Party FILE DATE: 05/16/2017
ACTION CODE: PB‘ CASE TRACK: A- Average
DESCRIPTION: _ Tortious Action involving an

Incarcerated Party

 

 

 

CASE DISPOSITION DATE 05/13/2019 CASE STATUS: Closed
CASE DISPOSITION: Transferred to another Court STATUS DATE: 09/15/2017
CASE JUDGE: CASE SESSION: CiilG
PARTIES

Plaintiff Attorney PROPER
Wolff, Charies Jay Pro Se
New Hampshire State Prison Massachusetts Bar
#70079 Added Date: 05/16/2017
PO Box 14
Concord, NH 03302
Defendant Attorney 552934
United States Department of Veterans Affairs Michael P Sady
810 Vermont Avenue NW United States Attorney's Office
Washington, DC 20420 United States Attorney's Office

- 1 Courthouse Way

Boston, MA 02110

Work Phone (617) 748-3100

Added Date: 04/29/2019

 

 

 

 

Printed: 05/15/2019 11:30 am Case No: 1784CV01506

Page: 1

 

 

 

 
 

CRTR2709-CR
SUFFOLK COUNTY CIVIL
Docket Report

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INFORMATIONAL DOCKET ENTRIES

 

 

 

 

 

 

 

 

Date Ref Description Judge
05/16/2017 Attorney appearance

— eS On this date Pro Se added for Plaintiff Charles Jay Wolff. ne
05/16/2017 Case assigned to:

— eS DCM Track A - Average was added on 05/16/2017,
05/16/2017 1 Affidavit of Indigency and request for waiver substitution of state payment

of fees and costs filed without Supplemental affidavit
_....__.__ ALLOWED, subject to review byjudge ee

05/16/2017 2 Original civil complaint filed.

05/17/2017 4 ORDER: To Denise Drury to provide certain information regarding inmate Connolly
account relative to plaintiff's Motion to waive filing fee and proceed in
Forma Pauperis. (Rosemary Connolly, Justice) Notice Sent
05/17/2017

05/17/2017 5 ORDER: After a review of your petition and correspondence, the Court has Connolly
instructed the Clerk's Office to take the following action: Service is to be
made upon defendant(s) by means of certified mail at the plaintiff's
expense, and you must return to the court the original summons with the
green receipt card for each defendant. (Rosemary Connolly, Justice)

Notice Sent
_o- eS 05/17/2017 eee
05/17/2017 General correspondence regarding One summons mailed to plaintiff this
~o oS day ene
05/17/2017 General correspondence regarding On 05/17/2017, Order P#4 sent to

Denise Drury, Inmate Accounts, to fax order to NEW HAMPSHIRE STATE
oe! PRISON requesting a canteen account for (6) months,

05/26/2017 6 Plaintiff Charles Jay Wolff's Motion to
issue a Court order

06/01/2017 7 Plaintiff Charles Jay Wolff's Motion to
fill out inmate request slip regarding information to the Suffolk
— eS Superior Court, ee

06/07/2017 8 Plaintiff Charles Jay Wolff's Motion to
ee ____ Request protection from the Suffolk Superior Court ee

06/16/2017 9 Service Returned for
Defendant United States Department of Veterans Affairs: Service via
Wo certified mail; NORETURN RECEIPTCARD.

06/30/2017 10 Plaintiff Charles Jay Wolff's Motion for
the status of the above case

07/05/2017 11 Plaintiff Charles Jay Wolff's Motion to
contact the Warden Zinn 1-603-271-1801 that all my property is with
RN manager Robert McGrasis is evidence and will

ee be picked up Massachusetts authorities °°

 

 

 

 

Printed: 05/15/2019 11:30 am Case No: 1784CV01506 Page: 2

 

 

 
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oN SUFFOLK COUNTY CIVIL

Docket Report

 

07/06/2017 Endorsement on Motion for Court Order (#6.0): DENIED Connolly
without prejudice to be refilled in a typed form to permit the Court to better
understand the basis for plaintiffs motion and the specific relief requested

07/06/2017 Endorsement on Motion to fill out inmate request slip regarding Connolly
information to the Suffolk Superior Court (#7.0): DENIED
WS (dated 6/30/17) notice sent 7/5/47,

07/06/2017 Endorsement on Motion of Request for Protection for the Suffolk Superior Connolly
Court (#8.0): DENIED

07/18/2017 14 ORDER: Notice of Waiver of Court costs and request for payment to be Wilson
withdrawn from account (Pursuant to G.L. c. 261 sec. 29) The
prisoner/plaintiff in the above-captioned action has filed a motion to waive
the filing fee of $275.00 and court costs (normal) and to proceed in forma
pauperis. After reviewing the affidavit of indigency and the statement of
inmate account provided by the correctional facility, the court hereby
orders: The plaintiff is incapable of paying the filing fee and may proceed

09/15/2017 15 JUDGMENT OF DISMISSAL (1-88) entered, service not completed for any
party by deadline review.

09/15/2017 Document:
A Judgment of Dismissal 1-88 was generated and sent to:

09/28/2017 16 Plaintiff Charles Jay Wolff's Motion for
Reconsideration

10/17/2017 Endorsement on Motion to (#17.0): ALLOWED Wilson
to request to reopen case The Judgment of Dismissal is VACATED
plffis to again attempt services by certified
mail with the return receipt to be addressed to Timothy Walsh Asst
Clerk Civil Clerk's Office Suffolk Superior Court 3
Pemberton Square Boston Ma 02108 Notice Sent 10/16/17

os Judge: Wilson, Hon. Paulo ee

10/19/2017 18 Plaintiff Charles Jay Wolff's Motion for
Service

11/01/2017 19 Plaintiff Charles Jay Wolff's Motion for
Requesting the date of my motion and certified mail return receipt green

 

 

 

Printed: 05/15/2019 11:30-am Case No: 1784CV01506 Page: 3

 

 

 
 

CRTR2709-CR -CV-11 2OMMOBWEA Th QnMASSAGHURHTOB19 Page 7 of 57
SUFFOLK COUNTY CIVIL

Docket Report

  

 

11/14/2017 Endorsement on Motion to Request Date (#19.0): No Action Taken Wilson
See my Order Enforcing Earlier Order of October 16, 2016 signed today
(dated 11/10/17) Notice sent 11/13/17

nr Judge: Wilson, Hon. PaulD ee

11/14/2017 General correspondence regarding Motion sent in by Plaintiff requesting Wilson
the Judge review submitted evidence:
These Documents are ORDERED returned to the Plaintiff. They are
prematurely filed, because the plaintiff has not yet served this lawsuit on
defendant. They are also unaccompanied by any motion, and so there is no
basis for this court to receive or review this (Original documents returned to
Charles Jay Wolf 11/14/17, copies placed in file) (dated 11/10/17) notice
sent 11/13/17

Woe eee Judge: Wilson, Hon. Paulo een ee

11/14/2017 20 ORDER: Order Enforcing Earlier Order of October 16, 2017, and Setting Wilson
Final Deadline for Service of Process
| ORDER that that plaintiff provide the clerk with proof that he served
defendant with the summons and compiaint by a final deadline of
December 11, 2017. In other words, the clerk must receive the green postal
receipt, showing that the summons and complaint have been received by
defendant, by that date. Plaintiff must serve the summons and complaint
by mailing to the defendant, and plaintiff may direct the Postal Service to
return the green receipt to plaintiff himself (as is the usual practice) or
plaintiff may instruct the Postal Service to sent the green receipt directly to
the clerk, if he so chooses. But, in either case, the clerk must receive that
green postal receipt by December 11, 2017 or this case will be dismissed
(see P#20 for full order) (dated 11/10/17) notice sent 11/13/17

Woe Judge: Wilson, Hon. Paulo eee

11/29/2017 21 Plaintiff Charles Jay Wolff's Request for
the Honorable Court and his Honor Justice Paul D Wilson then
reissue the summons in order for the plff to serve the said

12/04/2017 Endorsement on Motion to (#21.0): ALLOWED Wilson
regarding reissue the summons. The clerk is directed to send plff
another summons the final deadline for plff to file proof tthat
he served the summons and complaint - see my order of November
14, 2017 extended to January 11, 2018 Notice sent
12/6/17

Woes Judge: Wilson, Hon. PaulD eee

12/13/2017 General correspondence regarding Mailed a new summons to Mr. Wolff on
ee DECEMBER 13,2017 ee
42/22/2017 22 Plaintiff Charies Jay Woiff's Motion and

ot re: Summons (seecomplete motion) ee

01/08/2018 23 Plaintiff Charles Jay Wolff's Motion in
—o regarding receiving a new summons

 

 

 

 

Printed: 05/15/2019 11:30 am Case No: 1784CV01506 Page: 4

 

 
CRTR2709-CR S -CV-11 GOMMONWENTINQTMASFAGHURATOS19 Page 8 of 57
é : SUFFOLK COUNTY CIVIL

Docket Report

 

 

01/10/2018 Endorsement on Motion of (#23.0): No Action Taken Ricciuti
Notice Sent : 01/10/18

(01/10/18) NO ACTION taken as request is moot.

os Judge: Ricciuti, Hon. MichaelD ee

01/11/2018 24 Plaintiff Charles Jay Wolff's Motion to
—o return summons regarding extra thirty days to have return of service
01/12/2018 Endorsement on Motion to (#24.0): DENIED Ricciuti

Piff shall serve the summons provided him forthwith Notice sent
1/16/18

Judge: Ricciuti, Hon. MichaelD ee

01/25/2018 Endorsement on Motion and ALLOWED. Clerk shall issue a formal; Ricciuti
printed order that reflects the Court's handwritten order. Any violation of
either order will be sanctionabie before this court. (#22.0): ALLOWED

oes Judge: Ricciuti, Hon. MichaelD ee

02/12/2018 25 Plaintiff Charles Jay Wolff's Motion for
(Ref #24) Hand written note ("Denied shall serve the Summons
— Provided him (forthwith!” eee

02/12/2018 26 General correspondence regarding PIff to " understand the issue at hand
(1) Her Honor Rosemary Connolly issued an order (Please
—o ee! Exhibit (A) ) Number (5)DTD 5/17/17) eee

02/14/2018 Endorsement on Motion for (Ref #24) Hand written note (#25.0): Ricciuti
ALLOWED
Notice Sent : 02/14/18

(2/14/18) ALLOWED

es Judge: Ricciuti, Hon. MichaelD ee

02/15/2018 27 Service Returned for
Defendant United States Department of Veterans Affairs : Service via
________...._______ settified mail, (Stamped Date from Dept of Veterans Affairs 12/15/2017)

06/08/2018 28 Plaintiff Charles Jay Wolff's Motion for
~o eee aHearing: eee

06/12/2018 Endorsement on Motion for Hearing Date (#28.0): Other action taken Connolly
The Clerk's Office will forward a copy of this motion and endorsement to
the Defendant. The defendant shall have 60 days to file a response with
the Court. The response may include a motion to Dismiss. If so the
Defendant shall provide plaintiff with a copy and plaintiff shall have 30
days from the date on any motion to Dismiss to file a Response with the
Court. Court's action is otherwise deferred at this time (dated 6/11/18)
notice sent 6/12/18

es Judge: Connolly, Hon. Rosemary ee

06/25/2018 29 Plaintiff Charles Jay Wolff's Motion in
ed Regards to Serving of Motion Papers

06/27/2018 30 General correspondence regarding "Motion" (see P# 30)

 

 

 

Printed: 05/15/2019 11:30 am Case No: 1784CV01506 Page: 5

 

 

 
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4: a cv- 11220MMORWEMAINQnMASSACHURRTOSL9 Page 9 of 57
te SUFFOLK COUNTY CIVIL
Docket Report

 

 

 

06/29/2018 Endorsement on Motion in Regards to Serving Motion Papers (#29.0): Connolly
DENIED
All Process shall be served in accordance with MRCP Rule 5 (dated
6/28/18) notice sent 6/29/18

07/27/2018 31 General correspondence regarding Letter regarding correspondence (see
ee. complete letter) ee
07/27/2018 32 ORDER: Order Concerning Filing and Service of Motions Wilson

(see P#32) (dated 7/26/18) notice sent 7/27/18

08/17/2018 33 Plaintiff Charles Jay Wolff's Motion for
Default

09/12/2018 34 Plaintiff Charies Jay Wolff's Motion to
Advise the Honorable Court

11/02/2018 35 Plaintiff Charles Jay Wolff's Motion for
___.___... .._ a Writ against United States Department of Veterans Affairs |

1 1/08/2011 8 Document:
A Default order Mass. R. Civ. P. 55(a) was generated and sent to:
Plaintiff: Charles Jay Wolff

11/08/2018 36 Entered as to:
Defendant United States Department of Veterans Affairs: Defaulted by

11/09/2018 Endorsement on Request for Writ Against US Department of Veterans Wilson
Affairs (435.0): Other action taken
Defendant was served with process in this case on Dec. 15, 2017.
Defendant has ignored Judge Connolly's Order of June 12, 2018 requiring
filing within 60 days of that date. Therefore Defendant is DEFAULTED
(dated 11/8/18) notice sent 11/8/18

12/12/2018 38 Plaintiff Charles Jay Wolff's Motion for
Oral Filing on All the Persons Who Used my US Department of Veterans

01/07/2019 39 Plaintiff Charles Jay Wolff's Motion for
Payment of $1,000,000.00 for non payment of my Education Benefits for
1970, 1971, 1972, 1973, and 1974.

04/29/2019 Attorney appearance
On this date Michael P Sady, Esq. added for Defendant United States

 

 

 

Printed: 05/15/2019 11:30 am Case No: 1784CV01506 Page: 6

 

 

 
1-cv-11 2 SOMONE ALTA IMASSACHUBSEITS 9 Page 10 of 57
SUFFOLK COUNTY CIVIL

Docket Report

~ CRTR2709-CR

  

 

04/29/2019 A1 Notice of Removal to the United States District Court filed by

Defendant (US Dist # 19-cv-10773)

05/13/2019 REMOVED to the U.S. District Court
of Massachusetts

 

Applies To: United States Department of Veterans Affairs (Defendant) ==

 

 

| HEREBY: ATTEST AND CERTIFY ON

May 15,. 2019 “THAT THE
FOREGOING DOCUMENT IS A FULL,
TRUE AND CORRECT COPY OF THE
ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

MICHAEL JOSEPH DONOVAN

CLERK / MAGISTRATE

SUFFOLK SUPERIOR CIVIL COURT
DEPARTMENT ho COURT

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Printed: 05/15/2019 11:30 am Case No: 1784CV01506

 

Page: 7

 

 

 
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1784CV01506 Wolff, Charles Jay vs. United States Department of Veterans Affairs

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Affidavit of Indigency and request for waiver substitution of state payment of fees and costs filedv
ALLOWED, subject to review by judge | HEREBY ATTEST AND:CERTIFY ON

May 15, 2019 -THAT THE

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FOREGOING DOCUMENT IS A FULL,
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MICHAEL JOSEPH DONOVAN

CLERK / MAGISTRATE

SUFFOLK SUPERIOR CIVIL COURT
DEPARTMENT OF THE TRIAL COURT

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Selection Criteria

 

 

 

 

 

 

 

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Cl Party/Alias Type Disposition Dismissed Date
f] Wolff, Charles Jay Plaintiff Active
[] Attorney Pro Se ‘
| United States Department of Veterans Affairs Defendant Defaulted by 55(a) request 11/08/2018
[|] Attorney Sady, Esq.,.Michael P
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Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 13 of 57

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MARY A. KELLEY
NOTARY PUBLIC
MY COMMISSION expires.

| HEREBY. ATTEST AND CERTIFY ON
May 14,2019 qyartHe

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TRUE AND CORRECT COPY OF THE
ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE
SUFFOLK SUP Ee L COURT

   

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Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 19 of 57

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Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 25 of 57

Commonwealth of Massachusetts
« : County of Suffolk
_, = The Superior Court

Civil Docket # SUCV2017-001506-G

Charles Jay Wolff, #70079
Plaintiff(s)
Vs o
United States Department of Veterans Affairs
Defendant(s) .
Mr. Charles Jay Wolff, #70079
New Hampshire State Prison
281 North State Street
Concord, NH 03301

ORDER TO MS. DENISE DRURY TO PROVIDE CERTAIN INFORMATION
REGARDING INMATE ACCOUNT RELATIVE TO PLAINTIFF'S MOTION
TO WAIVE FILING FEE AND PROCEED IN FORMA PAUPERIS

The plaintiff in the above captioned action has filed a motion to waive the filing fee
and court costs (normal) and to proceed in forma pauperis.

Pursuant to G.L. 261 s29, the correctional facility where the prisoner is currently
incarcerated shall file a document showing the current status of the plaintiff's canteen
account and savings account, if any, and the account activity for the past six (6) months.
The document shall be filed within thirty (30) days of the date of this order. The statement
is to be mailed to:

SUFFOLK SUPERIOR COURT

CIVIL CLERK'S OFFICE

PRISONER DEPARTMENT, ROOM 1203
THREE PEMBERTON SQUARE
BOSTON, MA. 02108

Dated at Boston, Massachusetts this 17th day of May, 2017.

. By the Court, (Rosemary Connolly, Justice)
NOTICE SENT: 05/17/2017
CU.W. DD,

(Pro Se) SR. ACCT. TECH. BY: LN iguce Dh.
| HEREBY ATTEST AND CERTIFY‘ON Assi i t Clerk

May 14,. 2019 quartHe
FOREGOING DOCUMENT IS A FULL,
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ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

MICHAEL JOSEPH DONOVAN
CLERK/MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT

y IAL COURT

        
 

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 26 of 57

La
’ .

Commonwealth of Massachusetts
County of Suffolk
The Superior Court

Civil Docket#: SUCV2017-01506-G
RE: Charles Jay Wolff, #70079 vs United States Department of Veterans Affairs

TO: Mr. Charles Jay Wolff, #70079
New Hampshire State Prison
281 North State Street
Concord, Ma. 03301

ORDER

ORDER: After a review of your petition and correspondence, the Court has
instructed the Clerk's Office to take the following action: Service is to be made upon
defendant by means of certified mail at the plaintiffs expense, and you must return
to the court the original summons with the green return receipt card for each defendant.

Dated at Boston, Massachusetts this 17rd day of May, 2017

By the Court, (Rosemary Connolly, Justice)

NOTICE SENT: _ 05/17/2017
CIW, | NAW,
(Pro Se); . D,O.C.

Michael Joseph Donovan,
Clerk of the Courts

| HEREBY. ATTEST AND CERTIFY ON

May 14,.2019 “THAT THE
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ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

 

MICHAEL. JOSEPH DONOVAN
CLERK / MAGISTRATE

SUFFOLK SUPERIOR CIVIL COURT
BD E TRIAL COURT

BY: whe 7
First Asst. Clerk

 
Case 1:19-cv-11229-RWZ

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MICHAEL JOSEPH. DONOVAN

CLERK / MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT
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MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE
SUFFOL! B.C. COURT

     
 

BY: Nee -
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Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 30 of 57

 

THE STATE OF MASSACHUSETTS
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NO, 1784cv01506 .

     

2 - Notice sent:
MOTION . 7/05/2017
THE PLAINTIFF REQUEST PROTECTION PROM Ge Fe We
THE SUFFOLK SUPERIOR COURT...

  

_ ee Be)
NOWN COMES THE PLAINTIFF REQUESTING PROPECTION IN MASSACHUSETTS (se)

INORDER TO BRING FORTH MY LEGAL CIVIL LAW SUIT AGAINST THE UNTTED

STATES DEPARTMENT OF VETERANS AFFAIRS. AND TO BRING ALL MY PROPERTY

 

iN UNIT MANAGER ROBERT MCGRAPHS OFFICE WHICH CONTANINS EVIDENCE IN:

   
  

 

MYLEGAL CIVIL CASE. AND. TO INCLUDE ATTORNEY JAMES: A. JOHNSON LIST

  

HIMSELF AS A CONTACT NMAE AND TEL # 1 (603) 424-6365 AND HIS WEB SITE
WWW JOHNSONSOLYGRAPH. THIS IS THE RELIEF I REQUEST.

REASON, 1 AS THE HONORABLE COURT HAS SEEN LT, GAMES JOESPH BROWN IS
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f IS GETTING INVOLVED AS THE NHSP TO DELAY MY LEGAL ACTION AND

     

TO STOP AND AND ALL CARE IN MY HEALTH PLEASE SEE EXHIBIT (A}.

@. ATTY JAMES A, JOHNSON IN FACT GAVE ME A PLOYGRAPH TEST
TWICE AT WHICH TME HE RAPPED ME. IN HIS WINTER COAT AND

 

ATTORNEY RANDELL E. WILBERT TURNED UP THER HEAT. AT NO
TIME DID RANDELL E. WILBERT TELL ATTORNEY JOHNSON THAT
I A DISABLED VETERAN WITH PTSD OR ANY OTHER VA PROVIDED
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MICHAEL JOSEPH DONOVAN

CLERK / MAGISTRATE

SUFFOLK SUPERIOR CIVIL COURT
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BY: Ad :
First Asst. Clerk

 

 
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Commonwealth of Massachusetts

SUFFOLK, SS, . TRIAL COURT. OF THE COMMONWEALTH
SUPERIOR courr DEPARTMENT

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CHARTS Tbe ts AE, PLAINTIFFS), O74. aL MeTh STAT? ST AG

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SUMMONS

   

THIS SUMMONS. IS DIRECTED TO VY» 3. Whe 3 ( METER bw) 6 frapetenaaie’s FER pO rns

You are being sued. The Plaintiff{s] named above has started a lawsuit against you. A copy of the
Pi taints Complaint filed against yau is attached to this summons and the original complaint has been
{ Jas} ie AanCourt. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

   

 

 
 
   

extension of time in writing from the Court.
‘How'td Respond. To respond to this lawsuit, you must file a written response with the c
plaintiff's Attorney (dr the Plaintiff, if unrepresented). You can de-this by:
our iene original: response with the Clerk's Office for Civil Business, 4 ABEL dy spot
laddréss), by mail.orin person, AND
irmailing a copy of your response ta the he Plaintiff's Attorney/Plaintiff at the follawing
address: >. TL heetastoce JING 2f Co ht Ae) Wie OBR
What ta include i in-your response. An “Answer” | isone type of response to a Complaint, Your Answer
must state whether you.agree or-disagree with thefact(s) all leged in each paragraph of the Complaint.

 
 
   

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Some defenses, called affirmative defenses, must be stated in your Answet of you pray’ ose your right te
use them in court. if you have any claims against the Plaintiff (referred to as counterclaims) that are
based on the same-facts or transaction described in the Complaint, then you must: include those claims
in. yout Anéwer, Otherwise, you may ldse your right to sue the Plaintiff about anything related te this
lawsuit. If you want to have your case heard by a jury, you must specifically reéquest-a jury trial in your
Answer or In. a written demand fora jury trial that you must sod to the other side and File with the
courtno more than 10. days after sending your Answer: You can also respond to’a Gomplaint by filing a
“Motion to Dismiss,” if you believe that the complaint is legally invalid or legally insufficient. A Matton.
to Dismiss must be-based drvone of the legal deficiencies of réagons listed under Mass. R. Civ. P. 42: if
‘you are filing a Motion to Dismiss, you must also comply with the filing procedures for “Civil Motions”
described in the rules of the Court in which the coniplaint was filed, available at
wivw, mass. gov.courts/case-legal-res/rules of Court.

 

 

 
Case. 1:19-cv-11229-RWZ. Document 4 Filed.06/10/19.

   

Legal Assistance. You may wish to.get legal help froma lawyer. you cannot get legal help, some basic.

 

 

   

 

 
  

 

 

   

 

   

 

4.
information for people wha represent themselves is available at www.mass. gov/courts/sel Hheip
5. Required information on all filings: The “civil docket. number* appearing at the top. of this: notice is the

case number assigned. te this case arid rust appear onthe front-of your Answer or Mation te Dismiss.
You. shou! defer to yourself asthe “Defendant. *.

ANitriess Hon. sadith Fabricant, Chief Justice on 2,

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Clerk: Magistrate

Note: Tae nurnriaes assign oy thes Cognpraint by tae Clers-Magisu end af iad Lagintang or ite lawdull shoud be udheated od the”
summons before it is.served on the Defendant.

PROOF OF SERVICE OF PROCESS
| hereby certify that ori Ao is \ gir . 1099 | served a copy of this. sudimons,

together with a copy-of thé complaint in this.action, on: the defendant named in this summons; in the
following manner (See Mags, 8. Civ. P. 4 (ay(i-S}}:

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of ? Dated: 2A. “SUAG ROS if » 205) f°) Sighature: |
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PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX ~ BOTH
ON THE ORIGINAL SUMMONS AND ON THE COPY-OF THE SUMMONS SERVED ON THE DEFENDANT.
| HEREBY ATTEST AND CERTIFY ON

 

May 14, -2019 , THAT THE
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MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE

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First ‘Asst . Clerk

 

 

 

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 33 of 57

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OMMONWEALTH OF MASSACHUSETTS
SUFFOLK, ss. SUPERIOR COURT
CIVIL ACTION
NO. 2017-1506
CHARLES JAY WOLFF
Nonee ©
vs. SCA
UNITED STATES DEPARTMENT OF VETERANS AFFAIRS +luwha
MASP
ORDER REQUIRING FILING OF PROOF OF SERVICE OF PROCESS C.T.w

(@e,)

Plaintiff Wolff has filed a summons that states that he served the summons and complaint
on the Defendant Department of Veterans Affairs, in Washington D.C., by certified mail, return
receipt requested, on June 12, 2016. See Paper No. 9 on the docket. Before this lawsuit can
proceed, Mr. Wolff must file proof that the Department of Veterans Affairs received the *
summons. In this case, such proof would likely be the green postal return receipt. Mr. Wolff is

ORDERED to file such proof with the clerk of this court by August 11, 2017.

(A Nb

Paul D. Wilson
Justice of the Superior Court

 

July 11, 2017

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MICHAEL JOSERH (DONOVAN
CLERK / MAGISTRATE
SUFFOLK SUPERIOR CVI COURT

DEPART. F THE AT

By. = :
First Asst. Clerk

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 34 of 57

Commonwealth of Massachusetts M4
County of Suffolk

The Superior Court

CIVIL DOCKET#: SUCV2017-1506
Charles Jay Wolff, #70079
Plaintiff
vs

United States Department of Veterans Affairs
Defendant

NOTICE OF WAIVER OF COURT COSTS AND REQUEST
FOR PAYMENT TO BE WITHDRAWN FROM ACCOUNT
(PURSUANT TO G.L. c. 261 sec. 29)

The prisoner/plaintiff, in the above-captioned acticn has filed a motion to waive the filing fee of
$275.00 and court costs (normal) and to proceed in forma pauperis. After reviewing the affidavit of
indigency and the statement of inmate account provided by the correctionai facility, the court hereby
orders:

The plaintiff is incapable of paying the filing fee and may proceed in forma pauperis.

By the Court (Wilson, Justice)

Dated: 7/18/2017
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NOTICE SENT: 07/18/2017 ” Assistant Clerk
C.3.W.- (Pro Se)

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MICHAEL JOSEPH DONOVAN
CLERK/MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT

ME RIAL COURT
BY: : . _.

First Asst. Clerk

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 35 of 57

 

DOCKET NUMBER

JUDGMENT OF DISMISSAL UNDER

STANDING ORDER 1-88 4784CV01506

 

Trial Court of Massachusetts.
The Superior Court i ‘

 

 

CASE NAME
Charles J Wolff vs. United States Department of Veterans Affairs

Michael Joseph Donovan, Clerk of Court

 

TO:
Charles J Wolff
New Hampshire State Prison
#70079
PO Box 14
Concord, NH 03302

 

COURT NAME & ADDRESS

Suffolk County Superior Court - Civil
Suffolk County Courthouse, 12th Floor
Three Pemberton Square

Boston, MA 02108

 

 

This action came on before the Court, pursuant to Standing Order 1-88, and it appearing that service of
process has not been completed upon the defendant(s) named below, it is ORDERED and ADJUDGED
that the complaint is hereby dismissed, without prejudice, with respect to said defendant(s).

Defendant(s):

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AND IN MY LEGAL CUSTODY. ro
MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT
DEBAMTMENT, . COURT

BY: we
First Asst. Clerk

United States Department of Veterans Affairs

 

DATE ISSUED CLERK OF COURTS

09/15/2017 Michael Joseph Donovan, Clerk of ¢

 

 

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SESSION PHONE#

(617)788-8175

 

 

 

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REASON 4, THE PLAINTIFF HAS OBTAINED A NEW BLANK CERTIFIED MAIL RETURN

. THE HONORABLE COURT AND THE PLAINTIFF HAS PUT IN A LOT OF TIME EFFORT

. THE PLAINTIFF HAS SPENT A GREAT DEAL OF TIME IN PRISON WITHOUT ANY

a ‘bay -CV-11229-RWZ Document5 Filed 06/10/19 Page 36 of 57
it ‘eli 26

THE COMMONWEALTH OF MASSACHUSETTS

    
   
  
  
  
    
 
  
    
     

  

SUPERIOR CouURT
1784~-CV-01 5064. .

SUFFOLK COUNTY

CHARLES JAY WOLEF —

vs.

 

 

) Q UNITED STATES DEPARTMENT OF VETERANS AFFATRS

 

MOTION —

 

THIS IS THE RELIEF I REQUEST,

RECEIPT {GREEN CARD) WHICH WILL HAVE THE HONORABLE COURTS NAME AND
ADDRESS FOR THE RETURN OF THE "GREEN CARD " IN ORDER FOR THE PLAINTIFF
TO MOVE: FORTH IN HIS ACTION AGAINST THE DEFENDANT THE UNITED STATES

DEPARTMENT OF VETERANS AFFAIRS, AS

TO BRING FORTH THIS ACTION AGAINST THE DEFENDANT FOE WHICH TO PLAINTIEE ps

NEVER RECEIVED THE RETURN OF SERVICE AT THIS LOCATION.

 

EVIDENCE AT MY TWO TIRALS IN WHICH MY ENTIRE FAMILY EXCLUDING MY THREE on
WONDERFUL CHILDREN HAS SUFFERED ENOUGH PAIN AND. SUFFERING ALL BECAUSE “A
THE UNITED STATES DEPARTMEN TOF VETERNS AFFAIRS FATLED TO VERFIED THE
UNSIGNED LETTER FROM 26 LEDGEWOOD ROAD FRAMINGHAM, MASSACHUSETTS 01701
AND. THE SECOND FILLING BY THE CAROL ANN AND DONALD E. GORELICK 6 HORTZONEN WV

CIRCILE NASHUA, NEW HAMPSHIRE 03060 IN WHICH THE VA RO BOSTON, MASSACHU a

 
 

sents SHOULD OF RETURNED. THEIR FILLING TO BE FILED IN THE VA _e

Ms
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Case 1:19-cv-11229-RW2Z....Document.5.... Filed 06/10/19...Page.37 Of 57... we

 

PAGE 2 OF 2
4, TRE PLAINTIFF IS NOT AN ATTORNEY AND HAS LEARN BY HIS ERRORS IN

 

FILLING HIS CERTIFIED MAIL RETURN RECEIPT? (GREEN CARD WHICH THE

_ PLAINTIFF NEVER RECEIVED, THIS TIME I WILL ADDRESS THE RETURN TO

 

 

 

'SUFPOLK COUNTY SUPERIOR COURT ATTN: CIVEBL CLERKS OFFICE ** 127H

FLOOR NUMBER THREE PEMBERTON SQUARE BOSTON, MASSACHUSETTS 02108."

RESPECTFULLY SUBMITTED BY:
€ Le PD Winn 4
CHARLES JAY WOLFF
oo . 2,8

DATE:' TUESDAY THE 3RD DAY OF OCTOBER 28¢7CE

 

  
  
 

HARELS JAY WOLFF
70079. .
_SOQUTH DIVISION-1A

281 NORTH STATE STREET
CONCORD, NEW HAMPSHIRE
03301

 

 

 

| HEREBY ATTEST AND CERTIFY ON

ay 14, 2019 THAT THE

May 14, 201 LTH

FOREGOING DOCUMENT IS A FULL.
TRUE AND CORRECT COPY OF T
ORIGINAL ON FILE IN MY OFFICE,

AND iN MY LEGAL CUSTODY.

MICHAEL JOSEPH E DONOVAN

CLERK / MAG COURT
FFEOLK SUPERIOR CIVIL

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BY:

: First Asst. Cler

 

 

 

 

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19" Bae ¢

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Case 1:19-cv-11229-RWZ

Document 5 Filed 06/10/19 Page 39 of 57

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MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE

SUFFOLK SUPERIOR CIVIL COURT
COURT

 

  
   

‘First Asst. Clerk

 

 

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 40 of 57

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cd
SUPSOLE COUNTY SUP RRTORGOURT
i
alg ric GIVIL AGTToN
GUARLES JAY WOLPHY s
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vs.
UNTTEN STATRS IDRPAPTME SET QF VETERANS APFLERRS JO MOE G
MOTTON

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DEPARTMENT OF VETERANS APFIRS, THIS IS TH® RELIEF
RHASOM, NO DTSASSPRCT TO CHE KONORARLE COURT. THR HAND BETETEN TRSTRUCTICANS

BY BIS HOMOR JUSTIC® PAUL N. STLSOM ARG HOT ARAN AND ARR JUST PRIYG
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TS JUST MATLING THE HANR WRTTRN NOTSS OF HTS HONOR JUSTT@RPAUL D.WISON

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THIS [S WAY T WANTED TO BR PRANSPOTTRD TO THR UONORARLE COURT ann
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T Tuan Wo MTS Herne JUSTICE PAUL 0. WILSO
NOTICE SENT: 01/25/2018
C.dWe RESPRCTFULLY SUBMATTEN RY:
(Pro Se)
CHARLES
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MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE
SUFFOLK SUPERIOR Civit COURT

  

BY:

 

First Asst. Cletk

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 41 of 57

 

    

 

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CLERK / MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT

    

BY: /
First Asst. Clerk

 
, Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 42 of 57

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- ANSP COMMONWELTH OF MASSACHUSETTS 3
> Cw
SUFFOLK COUNTY SUPERIOR COURT
»
. CIVIL ACTION
CIVIL DOCKET NO. 17-1506 Gy
CHARLES JAYmwoEDR
vs.
UNITED STATES DEPARTMENT OF VETERANS AFFAIRS Page le
MOTION

1.Now éomzs THE PLAINTIFF Is RETURNING THE SAID SUMMONS AGAINST THE SAID
DEFENDANT FOR THE REVERSE SIDE OF THE SUMMONS LACKS THE DATE AND IF
NEEDED THE SIGNATURE OF THE CHIEF JUSTICE HER HONOR JUDITH FABRICANT.
2.THE PALNTIFF REQUETS AN . EXRTA THIRTY (30) Days to HAVE THE RETURN OF
SERVICE TO THE HONORABLE SUFFOLK COUNTY SUPERIOR COURT. TILL FEBRUARY 1279

2018. thjis is the relief i request.

STILL HAVE TO SERVE THE SAID DEFENDANT AFTER

SIGNED BY THE CHIEF JUSTICE HER HONOR JUDITH
3. UPON RETURN OFD THE SUMMONS I SHALL
SERVE THE SAID DEFENDANT BY CERTIFIED MAIL
RETUN RECEIPT AND RETURN OF GREEN CARD TO
THE HAONRABLE SUFFOLK COUNTY SUPERIOR COURT.

 

DATE THURSDAY THE 4TH DAY oF JANUARY 2018

CHARLES JAY WOLFF
70079
SOUTH DIVISION-1la
281 NORTH sTacRE STREET ”
CONCORD, NEW. HAMPSHIRE

03301

Pouer, Mure some sve THE Eywins Alom® Hi Regt.

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May 14,2019 waar tHe
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MICHAEL JOSEPH. DONOVAN

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CLERK / MAGISTRATE /
SUFFOLK SUPERIOR CIVIL COURT
DEP COURT

BY - fp iS
First Asst. Clerk

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 43 of 57

Commonwealth of Massachusetts

TRIAL COURT OF 1HE COMMONWEALTH

 

SUFFOLK, $5.
SUPERIOR COURT DEPARTMENT ob
. . CIVIL DOCKET NO.

CHAR PLAINTIFE(S), SOUTH DIVISION-1A 281 NORTHSTATE STREET

LES TAY -WOLER 10073 CONCORD, NEW HAMPSHIRE 03301
UNITED STATES DEPARTMENT. 810 VERMONT AVENUE N.W.. WASHINGTON, D.C.
VETERANS AFFAIRS _DEFENDANT{s) 20420 "

\.
SUMMONS OM

OT er ge

THIS SUMMONS IS DIRECTEDTO U.S. DEPT OF VETERANS RKEKAXBendant’s name) AFFAIRS

You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the

Plainttif's C t fled against you is attached to this summons and the original complaint has been
SU POLE CURLY
filedinthe SUPERIOR COURT Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

1. You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
the case against you and award the Plaintiff everything asked for in the complaint. You will also lose'the
opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
to resolve this matter with the Plaintiff. if you need more time ta respond, you may request an
extension of time in writing from the Court. :

2.. How to Respond. To respond to this lawsult,-you must file a written response with the court and mail a
copy to the Plaintiff's Atterney (or the Plaintiff, if unrepresented). You can do this | bye —_

a. Filing your signed original response ‘with the Clerk's Office for Civil Business, count y _ Court,

IVIL CLER OFFICE 4gTH FLOR 3 PEMBERTON
SUPERTOR_CoURT {address), by mail orin person, ANBIY TE Ch REARS OFFICES

b. Delivering or mailing a copy of your response to the Pk Plaintit’s Attorney/ Plaintiff at the following

address:2.81 NORTH STATE STREET CONCORD + NEW HAMPSHIRE 03301
3. What to include in your response. An “Answer” is one type of response to a Complaint. Your Answer

must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
based onthe same facts or transaction described in the Complaint, then you must include those claims
in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
Answer or ina written demand for a jury trial that you must send to the other side and file with the
court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
“Motion to Dismiss,” if you believe that the complaint is legally invalid or legally insufficient. A Motion
to Dismiss must be based on one of the legal deficlenciés or reasons listed under iMass. R. Civ. P. 12. If
you are filing a Motion to Dismiss, you must also comply with the filing procedures for “Civil Motions”

‘  dascribed in the rules of the Court in which the complaint was filed, available at
www.mass.fov.courts/case-legal-res/rules of court.

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 44 of 57

Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
information for people who represent themselves is available at www.mass. gav/courts/selthelp.
Required information on all filings: The “chi! docket number” appearing at the top of this notice is the
case number assigned.to this case arid must appear an the front of your Answer or Mation to Dismiss.
You should refer te yourselfas the “Defendant.”

Witness Hon Judith Fabricant, Chief Justice on ___» 20

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wee eee we

Nate: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the
surnmons before itis served on the Defendant.

PROOF OF SERVICE OF PROCESS
| hereby certify that on JANUARY 4TH _, 20_1g | served a copy of this summons,
together with a copy of the complaint in this action, on the defendant named in this summons, in the -

following manner (See Mass. R. Civ. P. 4 (d}(4-5)}: THE PALINTIFF BRINGS FORTH THIS CIVIL ACTION
AGAINST THE U NITED STATES DEPARTMENT OF VETERANS AFFAIRS 810 VERMONT AVENUE
N.W. WASHINGTON D.C. 20420. THE SAID DEDFENDANT FIBESD TO VERIFY AN UNSIGNED
LEQER DTD (™ 3-29- 96}AND PUT IN A CHANGE OF ADDRESS TO 26 LEDGEWOOD ROAD

PRAMINGHAM. MA O1701 AND THE XWIFE AND HER 3RD OR 4TH HUS§&AN FILED FALSE
INCOMES WITH THE SAME VA RO BOSTON, MA LI¥ IGBIN NH. JF THER v DID
A

Dated: JANUARY 4TH sss, 2018 Signature: A 42
VERIFY THE FIRST UNSIGNED LETTER I WOULD OF NOT GONE TO PRISON LOST MY
THREE WONDERFUL CHILDREN AND THE THEIFT OF APX $389,000.00 OF MY yY ITSABLIT

 

+PAYMNETSAND—USE—-OF-MY _VA_ID-CARD INVAMC JAMICA PLAIN MA AND VAMC MANCHESTRR

N.B, TO PROCESS SERVER: THIS CIVIL ACTION IS FOR $3,500. .
DEFENDANT. S POR $3,500.000.00 AGAINST SAID

PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX —BOTH
ON THE GRIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON-THE QEFENDANT.

 

 

 

 

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 45 of 57

aff 2hy

TYP COMMONWEALTH OF MASSACBUSETTS Rs
SUPERTOR COURT .

CIVIL ACTTON

SUFFOLK COUNTY
CTLVIL ROCKET NO. 17-1506-
CHALRFS JAY WOLFF at et ey
it J L ail PA Pe “4 Sen

 

VS.

UNITED STYATES DEPARTMENT OF VETRRANS AFFATRS

MOTTON REF: NO 24

L. REF: HAND WRITEN NOTE (" DENIED SHALL SERVE re SUMMONS PROVIDED HIM
€ FORTHWITH)'. THE PALINTIFF REGFIVED THE ORDER PY HIS HONOR MICHAEL D.
RICCIUTT JUSTICE. THE EVEVEOROPE WEAS PHR OPENED IN THF MAIL 800M AND
AND NOTRN TM THF SOUTS DIVISTON MATL LOG. THERE FPORF THE PLANITIFF REQUUST
TH% YONORARLE SUFFOLK COUNTY SUPRRIOR COURT TO RESENN THE COMPLETEN
Sivmalis INORDER FRO THR PLAINTIFF TO SERV] THE SATD SUMMONS AGAINST
THE UNITED STATES ORPARTMENT OF VRTRRANS AFFATRS. FRO RITHOUT THR

SiimMals THm PRAINTEIFF CAN NOT BERVED THR SUMMONS AGAINGSY THE DEEENDAT,

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THTS [5S THR RFLIEF T REQUEST. TPA -_ Fe
REASONL. I GAN NOT SERVE THR FIRST O8 SECOND SUMMOPNS &R R BOT THE,

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SENT BACH TO THE YOHORARLE COURT SUFFOLK COUNTY SUPER TRE = cag rt

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OUT A SUMMOMS FROM THE YONPRARLE COURT 1 CAN NOT conPL Ee ETRE ABS
ORDFREN BY HIS HONOR JUSTICE MTCKARL 9, RICCTUTT. "s o 8 .

2 RFASON 2. S8 STATS) THR MAILK ROOM OPENRD THE MATL FROM THR WONORARLE _
SUFFOLK COUNTY SUPERTOR COURT AND NO SUMMONS WAS FOUND AND BOTERD RY

RESPECTFULLY SUMITTED BY:
“CHARBLS MY ee c re

CORRECTIONS OFFICER COBRES.

DATED FRRRUARY IST 201°

oa,
CHARLES JAY~ WOLFF AvwoweD. TAQ
70074, CTW
SOUTY: DTVTSTON-JA —
281 NORTH. STATE STNEECT MpRrcan

coxntorap, NPY HAMPSATRE
| HEREBY ATTEST ANS GEE TEV On ” Oa301 aye ~ Ge)
May 14,2019 swat tHe

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TRUE AND CORRECT COPY OF THE
ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

MICHAEL JOSEPH DONOVAN

CLERK / MAGISTRATE

SUL K SUPERIOR CIVIL COURT
_C\dus OF COURT

First Na Cler

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 46 of 57

COMMONWRALTH OF MASSACHUSETTS

SUFFOLK SS.

z °

CHARLFS JAY WOLFF

Ww

ONTTED STATFS DFPARTMENTOR VETFIONS ARSATRS

SUPERTOR COURT oo

CIVTL ACTTOON
NO. 2017-1506-G6

NOW COMES THF PALINTIPS TN TYR APOVF CAPTION MATTER TO FRPALTN THF

FOLLOWING TSSUSE AT HARD.
L. HER SONAR JUTSTICP HTS HONOR MIGHAFL D.

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L. HER HONOR JMUSTICR ROSFMARY CONNOLLY TSSUED AN ORDER (init SEG

 

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THE GREEN RECEIPT CARD FOR BACH DEFFHDANT. (ROSEMARY &

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05/17/2017. !

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ANN THE RTS HONOR JUSTICE PAUL 1.WTSLON”

TOOXT CVER THE CASE. AGATN T REGFTVED *& NEP SUMMONS THAT WAU WoT

SIGNED PY THE CHIEF JUSTTCR AND WAS NOTR RATED TPUSD THE PRAINTIFF

RETURNED THE SFCOND SUMMONS REQUESTTLG

THAT THF

NEW SUMMONS BE STGNFOD

BY THE CHIEF JUSTICE AND PE DATEN AND U WTLL SEND THIS NEW SUMMONS

TO THF DEFENDANT. ALSQ HTS HONOR PAUL D. WILSON ORDERED MY NEW CERTIFTED

MAIL AND PFR STAMPRED STX 8Y NINE TN''G ENVELOPE RE RETUTRNFD TO ME

TO REMATL. T HOPE THS CLRARS THe MATTER WHY T HAYF NOT RE ARLE TO

SFRVED THF DEFFMDAT THF UNITED STATES DFPARTMENT OF VETERANSA AFFATRS.

THIS IS THR RELTEF I REQUIST.

REASON1, THE ABOVE STATFI) DOCUMENT STATFS THR PRORLEMS THAT T HAVE

REEN TAVTING TO SERVE THF ORFFNDATNT UNTTFD STATFS DFPARBTMENT OF

VETRRANS AFFATRS.

| HEREBY. ATTEST AND CERTIFY ON
May 14, 2019 “THAT THE

FOREGOING DOCUMENT IS A FULL,
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MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT

     

First Asst. Clerk

RESPECTEU

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SUFFOLK COUNTY CIVIL
Public Docket Report

Case 1:19- cv" 11229- BN Fone TEBE Ts ABASE RR LDS Page 47 of 57
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BES -INEORMATIONAL DOCKETENTRIES #5 =
Ref Description
. 3/201 7 Attorney appearance
ceeeceeeettnsnsstececeeneeneneee On this date Pro Se added for Plaintiff Charles Jay Wolff
05/16/2017 Case assigned to:

OE ee nee eee nnn ee ted eee ET Ree eee 8 SEE eG TEETER ARETE EERE RM CEMENT ROE T TETRA SENN A OTERO E RN RR TERE REY ERE Amal

05/16/2017 1 Afft davit of Indigency and request for waiver su bstitution of state payment
of fees and costs filed without Supplemental affidavit

™

05/16/2017 2. Original civil complaint filed.

05/16/2017 3 Civil action cover sheet fi led, (83, 500,000.00)

RARE Ee ot CRE REM EE EERO MO ieee roy RAE RR ARTO OR ETERS EMSS HS aH OER EE Anne Some een eceee

05/17/2017 4 ORDER: To Denise Drury to provide certain information regarding inmate Connolly
account relative to plaintiff's Motion to waive filing fee and proceed in
Forma Pauperis. (Rosemary Connolly, Justice) Notice Sent
05/17/2017

oe re re ene eer ner n ee tare cen ee ere Teer FE Bee Fee Cem eee ee mee ne nn NEON e EOE ER eT een Eee enna mene eee hee ee

05/17/2017 (8) ORDER: After a review of your pétition and correspondence, the Courthas Connolly
instructed the Clerk's Office to take the following action:_ Service is to be

—made upon defendant(s) by means of certified mail at the plaintiifs |
‘ou must return to the court the original summons with the

 

 

  

on

 

 

a green receipt card for each defendant. {Resemary Connolly, Justice
Notice Sent
wooo OSM7/2017 . en coco coeeete bo bg
05/17/2017 General correspondence regarding One ¢ summons s mailed to plaintiff this
evaceaceseecanseceeeserercetetaeseeners a
05/17/2017 General correspondence regarding On 05/17/2017, Order P#4 sent to

Denise Drury, Inmate Accounts, to fax order ta NEVV HAMPSHIRE STATE

 

06/26/2017 6 Plaintiff Charles Jay Wolff's Motion to
issue a Court order

nee er ree ee ee eee Can eee nae ere te eee preteen a eee ee nnn ee nee eee cer Aree de ener eee

06/01/2017 7 Plaintiff Charles Jay Wolff's Motion to
fill out mate request slip regarding information to the Suffolk

 

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06/16/2017 9 Service Returned for
Defendant United States Department of Veterans Affairs : Service via
certified mail; NO RETURN RECEIPT CARD.

06/30/2017 10 Plaintiff Charles Jay Wolff's Motion for
the status of the above case

ORO R ER meena RE NEE ter deme tee TA TR TERE ne EEE PR EE TE AEE ORE A A ERREO ES RTO ROR OREO ee RONEN Ren nT Oe ere CEES NE Ren Eee nnn man Eee ewer!

07/05/2047 41 Plaintiff Charles Jay Wolff's Motion to
contact the Warden Zinn 1-603-271-1801 that all my property is with
RN manager Robert McGrasis is evidence and will

 

 

 

 

Printed: 01/25/2018 10:05 am Case No: 1784CV01506 Page: 3

 

 

 

 
Case 1:19-cv-11229-RWZ Document 5

DATED PERRUARY @TH 2018 A TUESDAY

4
CHARLES JAY WOLFP
70079
SOUTH DIVISTON-1A
281 NORTH STATE STREET
CONUORD, NEW HAMPSHIRE
03201

Filed 06/10/19 Page 48 of 57
2 OF 2

 
--Casd 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 49 of 57 ‘yf

Commonwealth of Massachusetts

TRIAL COURT OF THE COMMONWEALTH
SUPERIOR COURT DEPARTMENT, at
. . CIVIL DOCKET-NO. . —/G0

" SOUTH DIVISION—1A 281ZNORTHSTATE STREET
LES JAY WOLFF _70079_~ PLAINTIFF(S),
CHAR 5) CONCORD, NEW HAMPSHIRE: 0g801 | &

SUFFOLK, SS.

 

 

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UNITED STATES DEPARTMENT. 810 VERMONT AVENUE N.W Fang refon 1 D.C.
VETERANS AFFAIRS DEFENDANT(S) 20420 8, ne
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- SUMMONS : Oe
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THIS SUMMONS IS DIRECTED TO U.S. DEPT OF VETERANS REERARGendanbsname? ABSAIRS
oe Ss . 2
You are being sued. The Plaintiff(s) named above,has started a lawsuit against you. A copy: “oF the a
Plaintiff's Compe nes fijeda against, ypu is attached to this summons and the original complaint hasbeei  ~
filed in the SUPERTOR COURT Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.
1. You must respond to this lawsuit in writing within 20 days. If you do‘ not respond, the court may decide

 

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extension of time in writing from the Court. ©
2. How to Respond. To respond to this lawsuit, -you must file a written response with the court and mail a
copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do iis his BYE TK
a. Filing your signed original response ‘with the Clerk's Office for Civil Business, our ry Court,
SUPERTOR COURT {address}, by mail or in person, ANBIY TL AGRERRSSS OF EICE B,AZtH FLOR 3 PEMBERTON
b. Delivering ar mailing a copy of your response to the plaints Attorney/Plaintiff at the 4ailowing
address:2B1 NORTH STATE STREET CONCORD, NEW HAMPSHIRE 03301
What te include in your response, An “Answer” is one type of response to a Complaint. Your Answer .
must state whather you agree or disagree with the faci(s;alieged in each paragraph of the-Complaint, ok
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described in the rules of the Court In: which the complaint was filed, available at | HEREBY ATTEST AND CERTIFY ON
Wwww.mass.gov.courts/case-legai-res/rules of court. May 15,. 20 19 “THAT THE
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AND IN MY LEGAL CUSTODY.

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MICHAEL JOSEPH DONOVAN

CLERK / MAGISTRATE

SUFFOLK SUPERIOR CIVIL COURT
DEPARTMENT OF THE TRIAL COURT

 

 
fro flex. SoG HAG Grr} 1229-RWZ poo plas Filed 06/10/19
wD COMMOTHWEALTH OF MASSAC USETTS

. ISL SUFFLOK COUNTY SUPERIOR COURT

|

Nos DEFENDANT WITH THE RETURN BE ADDRESSED TO THE

1784-6V-WOLEF, CHARLES JAY VS. UNITED STATES DEPARTM

©

MOTION

REQUEST THAT UPON IF IT HAPPENS THE SAID DEFENDANT

NOW COMES THE PLAINTIFF RESQEATING POINT OF INFORM

SUFFOLK COUNTY SUPEROR COURT AND TO BE MAILED POST

Page 50 of 57
| {77-1506

ATION. THE PLAINTIFF

| FILES A MOTION

TO DISMISS MY LEGAL ATION AGAINST THE SAID DEFENDANT THE PLANTIFF
WISHES TO FILE A MOTION NO TO ALLOW THE SAID DEFENDANTS MOTION AND

TO FOWARD A GREEN CARD CERTIFIED MAIL RETURN RECEIPT TO THE HONORABLE

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SUFFOLK COUNTY

‘§ SUPERIOR COURT CIVIL BUSINESS 12 FLOOR THREE PEMBERTON SQUARE BOSTON,
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) MASSACHUSETTS 02018. TJIS IS THE RELIEF I REQUEST,

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REASON 1. THE PLAINTIFF WANTS THE SAID DEFENDANT ‘iO RECEIVE MY
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Y CASE AGAINST THE SAID DEFENDANT AND TO |
. MOTION TO ARRIVE AT THE SAID DEFENDANTS |
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CHARLES © gay OLFF

» CHARLES JAY WOLFF

70079 ye
SOUTH DIVISION-1A |

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| HEREBY ATTEST AND Cer

DATE TUESDAY THE.19TH DAY OF JUNE 2018 | “

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MOTION NOT TO ALLOW THE SAID DEFENDANT 7° DENIE MY CIVIL

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May 14, 2019

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Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 51 of 57

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May 14, 2019

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BY:

MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE

SUFFOLK SUPERIOR CIVIL COURT
0 ENT, AL COURT

First Asst. Clerk

 
Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 52 of 57 \
firm. -

NOTIFY = x

COMMONWEALTH OF MASSACHUSETTS

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SUFFOLK, ss. SUPERIOR COURT

CIVIL ACTION
NO. 2017-1506
CHARLES JAY WOLFF
vs.

UNITED STATES DEPARTMENT OF VETERANS AFFAIRS
ORDER CONCERNING FILING AND SERVICE OF MOTIONS

‘In response to a recent order by Judge Connolly, requiring that plaintiff comply with the
Massachusetts Rules of Civil Procedure in filing and serving papers in this lawsuit, plaintiff has
written a letter to the clerk of this court, asking for a copy of those rules. It appears that plaintiff
did not send a copy of his letter to defendant.

Plaintiff is representing himself in this lawsuit. Having made that choice, plaintiff is
required to educate himself about the rules that apply to all parties in a lawsuit, and the substance
of the claims that he has brought. “Notwithstanding the petitioner’s pro se status, we hold him to
the same standards applicable to litigants represented by counsel” when asking a court for

substantive relief. Baldyga v. Dudley Div. of the Dist. Court-Dept., 449 Mass.1012, 1013 n.2

 

(2007)(rescript); see also Brossard v. West Roxbury Div. of the Dist. Court Dept., 417 Mass. 183
(to the same effect concerning a pro se party’s compliance with procedural rules).
One of the most basic rules is that, with rare exceptions, a party to a lawsuit cannot send
any communication to the court without sending a copy of that communication to his opponent. hesree

Ae
Therefore I ORDER the clerk to return to plaintiff any motion, letter, or other communication 6 9. ORI

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Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 53 of 57

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that he sends to the court without sending a copy to defendant’s lawyer, or, if defendant is not
represented by counsel, directly to defendant.

As to the request in plaintiff's recent letter to the clerk, the court cannot send plaintiff a
copy of the Rules of Civil Procedure, because: (1) no funds are available for this purpose; (2)
because, like any attorney representing a client in this court, plaintiff is responsible for educating
himself about the applicable rules, rather than asking the court to educate him. However, the
Massachusetts Rules of Civil Procedure are available online at https://www.mass.gov/law-
library/massachusetts-rules-of-civil-procedure. Judge Connolly’s order specifically referred
plaintiff to Rule 5 of those rules, which plaintiff should read, as well as making himself familiar
with any other rules that might apply to this case as it progresses. Also applicable to the service
and filing of papers with the court are the Rules of the Massachusetts Superior Court, which are
available online at https://www.mass.gov/law-library/massachusetts-superior-court-rules, Plaintiff
should pay special attention to Rule 9A of those rules, and should also make himself familiar
with all other rules that might apply to this case as it progresses. If plaintiff continues to fail to
comply with the rules of this court, his complaint may be dismissed.

So ordered.

WL-

 

Paul D. Wilson
Justice of the Superior Court

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May 14, .2019 tat THE
July 26, 2018 FOREGOING DOCUMENT IS AFULL,
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‘MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE :
SUFFOLK SUPERIOR CIVIL COURT

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First Asst. Clerk

     
 
 

   

     

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Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 54 of 57

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XS COMMONWEALTH OF MASSACHUSETTS
“ta SUFFOLK COUNTY; ss, . SUPERIOR COURT

USUI WOLFF, CHARLES JAY VS. UNITED STATES DEPARTMENT OF VETERANS AFFAIRS~-G

 

C G MOTION. THE PALINTIFF REQUEST A WRIT AGAINST UNETED ,
a r STATES DEAPRIMENT OF VETERANS. AFFAIRS UBE ISSUED
co NO TE FOR PAYMNET!.OF $3,500,000.00 TO CHARLES JAY WOLFF
~ ~70079 281 NORTH STATE STREET CONCORD, NEW
3 ‘ HAMPSHIRE 03301.

NOW COMES THE PALINTIFF IN THE ABOVE MATTER REQUESTING THAT BER HONOR JUSTICE...

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é ROSEMARY CONNOLLY: OR COLLEAGUE [A* WRIT FOR $3,500.000.00 AGAINST THE UNITED STATES

DEPARTMENT OF VETERANS AFFAIRS. 0 CHARLES JAY WOLFF -70079 SoUTH DIVISION-1A

t 281 NORTH STATE STREET CONCORD » NEW HAMPSHIRE 033017 AS PAYMNET IN THE ABOVE CAPTION
MATTER. THIS IS THE RELIEF I REQUEST,

x REASON 1, ON MONDAY THE :13TH DAY OF aucusr THE PLAINTIFF FILE A MOTION *FOR DEAMND",

“f ASSOF OCTOBER 30TH 2018 THE PLAINTIFF HAS NOT RECEIVED ANY CORRESPONDENCE

( FROM THE UNITED STATES DEPARTMENT OF VETERANS AFFAIRS OR FROM THE HONORABLE ©

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SUFFOLK COUNTY SUPERIOR COURT.

2%:IT SEAMS THAT THE DEFENDANT, UNITED STATES DEAPRTMENT OF VETERANS. AFFAIRS

HAS TAKEWH NQ..INTREST IN THIS.CIVIL ACTION AGAINST THEM.

RESPECTFULLY SUBMITTED BY:

    

 

~Qo- CHARLES JAY WOLFE ~ - x

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2) ‘TUESDAY THE 30TH DAY OF OCTOBER 2018 am = Re
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CHARLES JAY WOLFF 1 ae
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CONCORD, NEW HAMPSHIRE. * 5a

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PHOTO COPY MADE AND SENT TO UNITED STATES DEPARTMENT OF VETERANS AvFATRS 810 VERMONT

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MICHAEL JOSEPH. DONOVAN
CLERK / MAGISTRATE
SUFFOLK ST PERIOR civil COURT

   

 

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Case 1:19-cv-11229-RWZ Document5 Filed 06/10/19 Page 55 of 57

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COMMONWEALTH OF MASSACHUSETTS

 

TRIAL COURT
SUFFOLK, ss.
)
CHARLES JAY WOLFF,
)
Plaintiff, ) SUFFOLK COUNTY
) SUPERIOR COURT
Vv. ) CIVIL ACTION NO.: 17-1506B
) Us dee Fee,
UNITED STATES DEPARTMENT ) US Dist” 19-Cy- 10773
OF VETERANSS AFFAIRS,
) cFOLK SUPERIOR Coy
SU" civic clerk's oF FICE YA?
Defendant. ) FILED
APR 29 2019
NOTICE OF FILING
NOTICE OF REMOVAL MICHAEL JOSEPH DONOVAN
CLERK OF COURT

 

TO: Charles Jay Wolff
281 North State Street
Concord, NH 03301

 

 

PLEASE TAKE NOTICE that on April 19, 2019, Defendant United States Department of

Veterans Affairs, through its attorney, Andrew E. Lelling, United States Attorney for the District

of Massachusetts, filed a Notice of Removal of this action with the United States District Court

for the District of Massachusetts. A certified copy of the Notice of Removal is attached hereto.

| HEREBY: ATTEST AND CERTIFY‘ON
May 14, ,2019 THAT THE

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‘ MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT

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Dated: April 24, 2019

Respectfully submitted,

ANDREW E. LELLING
UNITED STATES ATTORNEY

/s/ Michael Sady
Michael Sady (BBO# 552934)

Assistant United States Attorney
United States Attorney’s Office
1 Courthouse Way, Suite 9200
Boston, MA 02210

(617) 748-3100
michael.sady@usdoj.gov

 
1:19-cv-11229-RWZ_ Document 5 Filed 06/10/19 Page 56 of 57
Cases Vi -cv-10773-DLC Document1 Filed 04/19/19 Bage 1 of 2

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

   

CHARLES JAY WOLFF,

Plaintiff,
CIVIL ACTION NO.:
v.

UNITED STATES DEPARTMENT
OF VETERANS AFFAIRS,

Nee Ne ee, ee ee ee a

Defendant.

NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT
COURT FOR THE DISTRICT OF MASSACHUSETTS

The defendant, United States Department of Veterans Affairs (“VA”), by and through its
attorney, Andrew E. Lelling, United States Attorney for the District of Massachusetts, hereby
gives notice pursuant to 28 U.S.C. § 1442 of his removal of this lawsuit to the United States
District Court for the District of Massachusetts.

As grounds for the removal, the defendant states that, to the extent a cause of action can
be discerned from the Complaint, this is an action against the VA apparently claiming that
Plaintiff is a victim of social security disability fraud which the VA should have recognized and
stopped. See Complaint, pp. 9-12. Plaintiff, a resident of New Hampshire, also asserts claims
against the State of New Hampshire for his conviction without evidence. Id, p.3. A copy of
the Complaint is submitted herewith.

Removal may be brought pursuant to 28 U.S.C. § 1442(a)(1) as it appears to be a civil
action of which the federal district courts have original jurisdiction founded on a claim or right
arising under the Constitution, treaties or laws of the United States and is a claim raised against a
federal agency, the VA.

WHEREFORE, this action now pending in the Suffolk County Superior Court, Suffolk

 
1229-RWZ_Document5 Filed 06/10/19 Page 57 of 57

Case 1:19-¢cv-1 ¢
e 1:19-cv-10773-DLC Document1 Filed 04/19/19 Page 2 of 2

Cas

County, Civil Action No. 17-1506B is properly removed pursuant to 28 U.S.C. §§ 1442, 1446.
By filing this removal, Defendant does not waive any of its rights or defenses, including,
without limitation, proper service pursuant to Fed. R. Civ. P. 4.
A true and accurate copy of the Complaint is filed herewith.
Respectfully submitted,

ANDREW E. LELLING
UNITED STATES ATTORNEY

By:  /s/ Michael Sady

Michael Sady, B.B.O. #552934
Assistant United States Attorney
United States Attorney’s Office
1 Courthouse Way, Suite 9200
Boston, MA 02210
(617) 748-3362

Dated: April 19, 2019 michael.sady@usdoj.gov

CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to pro se plaintiff, Charles Jay Wolff, 281 North State Street, Concord
NH 03301, via first class mail.

/s/ Michael Sady
Michael Sady
Dated: April 19, 2019 Assistant United States Attorney

 
